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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                 Plaintiff/Respondent, )
                                       )
      v.                               )                    Case No. 03-20051-JWL
                                       )                             08-2089-JWL
KENNETH WATERBURY,                     )
                                       )
                 Defendant/Movant.     )
                                       )
_______________________________________)


                           MEMORANDUM AND ORDER

       On September 26, 2008, the court issued a memorandum and order denying Mr.

Waterbury’s motion to vacate, set aside or correct his sentence pursuant to 28 U.S.C. §

2255. (Doc. 518). Mr. Waterbury has now filed a notice of appeal (Doc. 524) and a

motion for a certificate of appealability. (Doc. 523). Thus, the court considers whether

it is appropriate to grant a certificate of appealability on any issues, and it declines to do

so.

       As the Tenth Circuit has explained:

       A certificate of appealability should issue if the applicant has “made a substantial
       showing of the denial of a constitutional right,” 28 U.S.C. § 2253(c)(2), which the
       Circuit has interpreted to require that the “petitioner must demonstrate that
       reasonable jurists would find the district court’s assessment of the constitutional
       claims debatable or wrong.”

Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (quoting Tennard v. Dretke, 542 U.S. 274, 282

(2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000))). In his § 2255 motion,
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Mr. Waterbury argued that his counsel was constitutionally ineffective for three reasons:

1) he claimed his counsel was ineffective for failing to seek severance in his case; 2) he

claimed his trial counsel was ineffective for failing to object to his wearing prison

clothes on the first day of trial; and 3) he claimed that trial counsel failed to further

investigate and call an alibi witness who could testify he did not own the firearm which

was the subject of his possession conviction. Mr. Waterbury cannot demonstrate that

reasonable jurists could debate whether (or, for that matter, agree that) the issues should

have been resolved in a different manner or that the issues were adequate to deserve

encouragement to proceed further. Thus, this court denies his motion for a certificate of

appealability.

       In his motion for a certificate of appealability, Mr. Waterbury contends that he

was entitled to an evidentiary hearing. See Motion for a Certificate of Appealability,

Doc. 523, at 3-7.   However, as the court explained in its denial of Mr. Waterbury’s §

2255 motion, an evidentiary hearing is unnecessary where “the motion and files and

records of the case conclusively show that the prisoner is entitled to no relief.” United

States v. Galloway, 56 F.3d 1239, 1240 n.1 (10th Cir. 1995) (quoting § 2255). A court

does not need to grant an evidentiary hearing where the factual allegations are

contradicted by the record, inherently incredible, or when they are conclusions rather

than statements of fact. Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999)

(quoting Engelen v. United States, 68 F.3d 238, 240 (8th Cir. 1995)); see also United

States v. Sanchez, 105 F.3d 670, 1997 WL 8842, *3 (10th Cir. 1997) (table opinion)

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(“[D]efendant’s conclusory allegations . . . which contradict the record made at the plea

hearing, were insufficient to require an evidentiary hearing.”).

       In his § 2255 motion and his motion for a certificate of appealability, Mr.

Waterbury never states he asked his lawyer to object to his wearing of prison attire on

the first day of trial. As discussed extensively in the court’s denial of his § 2255 motion,

the government did not compel Mr. Waterbury to wear prison clothing; rather, the

defendant’s fiancee overslept and did not bring his civilian clothing at the start of trial.

(Doc. 518, at 9-11). The court asked Mr. Waterbury’s counsel if he was prepared to

proceed and he agreed that he was. The court also asked the jury pool if they would be

prejudiced by the defendant’s prison attire, and they agreed they would be impartial. Mr.

Waterbury has never claimed that he asked his attorney to object and there is no

evidence in the record that he objected to proceeding to trial in prison clothing.

Therefore, there is no factual dispute on this issue and no evidentiary hearing is

necessary.

       Regarding the other potential factual disputes raised by Mr. Waterbury in his

motion for a certificate of appealability, no evidentiary hearing is necessary where “the

motion and files and records of the case conclusively show that the prisoner is entitled

to no relief.” Galloway, 56 F.3d at 1240 n.1. Mr. Waterbury failed to show he was

prejudiced by his counsel’s failure to file a motion to sever. Mr. Waterbury made several

broad conclusory statements regarding the jury’s ability to distinguish testimony against

him and against his co-conspirators; however, the trial court instructed the jury on how

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to consider the evidence separately and Mr. Waterbury made no specific claims about

the jury considering evidence that did not bear on his guilt. Having an evidentiary

hearing would also not change the court’s decision with respect to Mr. Waterbury’s third

ground for relief. As the court explained in its denial of Mr. Waterbury’s § 2255 motion,

the third ground did not meet the first or second prong of Strickland. Namely, a

defendant’s difference in opinion regarding the method and strategy of trial counsel is

insufficient to overcome “the strong presumption that counsel’s conduct falls within the

wide range of reasonable professional assistance.” Strickland v. Washington, 466 U.S.

668, 689 (1984). In addition, Mr. Waterbury fails to show prejudice under the second

prong of the Strickland test. The potential testimony as to the disputed ownership of the

gun may very well have been probative. However, given the extensive evidence

presented at trial as to the defendant’s actual and constructive possession of the handgun,

Mr. Waterbury cannot argue he was prejudiced by his counsel’s decision not to call a

witness who could have potentially corroborated that the gun Mr. Waterbury was

charged with possessing did not belong to him.

       In his motion for a certificate of appealability, Mr. Waterbury also takes issue

with the court’s analysis regarding the legal questions presented by his three grounds for

relief. However, Mr. Waterbury fails to “demonstrate that reasonable jurists would find

the district court’s assessment of [his] constitutional claims debatable or wrong.” Saiz,

392 F.3d at 1171 n.3. Therefore, for the foregoing reasons, the court declines to issue

a certificate of appealability.

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IT IS SO ORDERED.



     Dated this 15th day of December, 2008, in Kansas City, Kansas.


                                             s/ John W. Lungstrum
                                             John W. Lungstrum
                                             United States District Judge




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